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                      IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF COLUMBIA

 CONRAD SMITH, et al.,

                              Plaintiffs,                 Case Action No. 1:21-cv-02265-APM

          v.                                              NOTICE OF WITHDRAWAL

 DONALD J. TRUMP, et al.,

                              Defendants.



         PLEASE TAKE NOTICE that I, Douglas E. Wagner, hereby request the withdrawal of

my appearance on behalf of Plaintiffs Conrad Smith, et al., in the above-captioned matter.

Following January 27, 2023, I will no longer be associated with Selendy Gay Elsberg PLLC and

will no longer be associated with the above-captioned matter.

         PLEASE TAKE FURTHER NOTICE that Faith Gay, Joshua Margolin, Claire O’Brien,

and Elizabeth Snow of Selendy Gay Elsberg PLLC continue to represent Plaintiffs Conrad Smith,

et al.



 Dated:    New York, NY                           SELENDY GAY ELSBERG PLLC
           January 24, 2023


                                            By:    /s/ Douglas E. Wagner
                                                  Douglas E. Wagner
                                                  SELENDY GAY ELSBERG PLLC
                                                  1290 Avenue of the Americas
                                                  New York, NY 10104
                                                  Tel: 212-390-9000
                                                  dwagner@selendygay.com


                                                  Attorney for Plaintiffs Conrad Smith, et al.
